Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 1 of 37

Exhibit 49
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 2 of 37

REPORT OF ALAN M. RAPOPORT, M.D.

Background

I am a neurologist, board certified in both Neurology (by the American Academy of
Neurology) and Headache Medicine (by the United Council for Neurological
Subspecialties), who has recently transitioned from running a major headache center in
Stamford, Connecticut, which I co-founded 29 years ago, to working in a headache center
in Santa Monica, California and teaching at UCLA in Los Angeles.

I was born in Brooklyn, New York and attended public schools until I went to Dartmouth
College where I majored in Zoology and graduated with a BA in 1962, After working at
The New York Times for 6 months, I attended the State University of New York’s
Downstate Medical Center where I received my MD degree in 1966. I did my medical
internship at Maimonides Medical Center in Brooklyn from 1966 to 1967 and my
Neurology Residency and Chief Residency at The Mount Sinai Medical Center in New
York from 1967-1970.

I then served two years on active duty in the armed services with the rank of Surgeon in
the Public Health Service, stationed at The National Institutes of Health in Bethesda,
Maryland. While there I did clinical work and ultrastructural research in neuromuscular
disease in the Medical Neurology Branch from 1970-1972.

In 1972 I went into private practice in neurology in Stamford and Greenwich,
Connecticut. which I did for 35 years. I spent 10 years as Director of Neurology at the
Greenwich Hospital in Greenwich, Connecticut. In 1979 I started The New England
Center for Headache in Greenwich, Connecticut along with Dr. Fred Sheftell, which
remains a major headache center in the United States, now located in Stamford,
Connecticut.

For 27 years I concentrated on diagnosing and treating headache patients of all types. I
taught physicians from all over the world how to treat headache patients and conducted
over 150 clinical trials, I set up an inpatient headache unit at Greenwich Hospital, which
was in operation for 12 years. It was 1 of only 3 dedicated headache units in the country.

] have co-authored and co-edited 9 books for doctors and patients on headache and been
involved in writing over 200 articles and posters on headache, most of them for
publication in peer-reviewed journals and presentation at national and international
meetings.

I am an editor of several peer-reviewed journals, such as Headache and CNS Drugs, and I
review for several other peer reviewed journals such as The New England Journal of
Medicine, Neurology and Cephalalgia. | have presented at scientific meetings around the
world and the United States on several hundred occasions. I have been a director of The
American Headache Society. I am the Chairman of the Sub-Committee on Education and
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 3 of 37

Membership and Director of Development of the International Headache Society, the past
President of the Fairfield County Neurology Society in Connecticut and the Founding
President of the Headache Cooperative of New England, which is in its 18th year as the
major headache teaching organization for physicians and the public in the Northeast
United States. Last year I helped to start a similar teaching organization on the West
coast called the Headache Cooperative of the Pacific, and I am its Founding Chairman.

I was an Assistant Professor of Neurology at Yale University School of Medicine in New
Haven, Connecticut for 25 years and then a Clinical Professor of Neurology at Columbia
University College of Physicians and Surgeons in New York for 6 years, where I taught
medical students and residents about headache. I left my position at Columbia in
November, 2006 to become a Clinical Professor of Neurology at the David Geffen
School of Medicine of UCLA, where I teach medical students, interns, residents and
fellows about headache, as I did at Columbia. I continue to see patients at The California
Medical Clinic for Headache in Santa Monica, California. My education and
professional experience is further detailed in my attached CV.

Use of Gabapentin for Treatment of Migraine

T have been asked to review the literature and employ my own experience and knowledge
to evaluate whether gabapentin is effective, tolerable and safe for migraine treatment and
whether or not it is appropriate for physicians to prescribe it for migraine prevention. |
have reviewed Dr. McCrory’s report and am responding to it. The McCrory report
focuses on data, unpublished reports, research reports and the intricacies of various
papers. The opinions I offer in this report are based on my extensive clinical experience
of 36 years in private practice and teaching at major medical institutions, my knowledge
of the literature relating to the treatment of headache, my review of literature relating to
the use of gabapentin in treating headache, and my review of Dr. McCrory’s report. The
literature clearly shows the value of gabapentin as a daily preventive medication for
migraine. Patients on this medication have fewer migraine attacks, fewer days of severe
headache, more pain free days, less use of rescue medication and better quality of life
than patients on placebo. It is my opinion as a headache expert that the effective dose of
gabapentin for the majority of patients who respond to it is 2400 mg or higher. This is
born out by the published literature.

One of the articles I reviewed to prepare this report is one on which I am the second
author and reports on a study that I helped to design (The Mathew Paper). It is my
recollection that we wanted to study the 2400 mg dose versus placebo, to see whether
patients on verum had fewer migraine attacks than placebo-treated patients at 3 months.
Although we were only interested in the 2400 mg dose of gabapentin based on our
collective clinical experience, the authors predicted that a small percentage of patients
would want to decrease the dose due to mild adverse events. Therefore we built in an
automatic decrease to 1800 mg for those patients. The primary dose studied was the
2400 mg dose. I have not previously seen the research report or unpublished studies
mentioned by Dr. McCrory in his report.
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 4 of 37

According to the published Mathew paper, gabapentin at 2400 mg per day is an effective
and well tolerated migraine preventive medication. In spite of Dr. McCrory’s criticisms,
these results are consistent with what I have observed in my clinical practice and the
literature. The literature includes an article about a randomized, placebo-controlled study
on the treatment of Chronic Daily Headache:(a major component of which is migraine)
with gabapentin, that Dr. McCrory has not even mentioned in his report.

In this article by Spira, the selected patients had a very severe and relentless type of
headache, with more than 15 days of migraine and other headaches each month, and
responded well to gabapentin 2400 mg. The International Headache Society (IHS) has
not included the term CDH amongst its diagnostic categories. In the past, headache
specialists, mostly in the US, termed these frequent headaches either CDH or transformed
migraine. The IHS has now termed these headaches chronic migraine and has twice
updated their diagnostic criteria. Importantly, the great majority of these CDH patients
with long duration headache lasting more than 4 hours per day and occurring more than
15 days per month, have migraine. A much smaller percentage have chronic tension-type
headache.

In the Spira paper, 133 patients with CDH from 12 centers in Australia were enrolled in a
randomized, double-blind, placebo-controlled, crossover study. Patients were
randomized to a single fixed dose of 2400 mg/day of gabapentin or placebo. The great
majority (74% of the patients) had either migraine or migraine plus tension-type
headache. Prior to the study, thought leaders were canvassed and determined that
anything less than an overall mean response of 7.5 % difference in headache frequency
between the active and placebo arms of the study would have no clinical relevance. The
primary efficacy variable was the difference in the percentage of days during which
headaches occurred while on gabapentin compared with placebo. There were several
secondary headache measures. Analgesic overusers were included and evaluated
separately. Various safety parameters were also evaluated.

Over a 13 month period, the 133 patients from 13 centers were evaluated. Primary
efficacy results revealed a mean difference in the headache free days between gabapentin
and placebo of 9.1% which exceeded the minimal mean clinically relevant value of 7.5%
specified in the protocol. This was highly significant at the p=0.0005 level.

An important part of this evaluation was whether or not a significant number of patients
lost the diagnosis of CDH because of a decrease in headache frequency on gabapentin
2400 mg versus placebo. This was also found to be significant.

There are other papers and abstracts, including a small randomized, controlled trial by

Di Trapani showing that use of gabapentin for treatment of headache results in a good
response with limited adverse events. While Dr. McCrory discusses several studies that
he says fail to show gabapentin to be effective in migraine prevention, those studies do
not change my opinion that gabapentin is an effective migraine preventive treatment.
One of those studies is identified by Dr. McCrory as Research Report RR4301-0006. Dr.
McCrory makes much of his claim that the final results of that study were not publicized.
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 5 of 37

As Dr. McCrory acknowledges elsewhere in his report, the study suffers from several
deficiencies in how it was designed and carried out. Most significantly, the trial studied
gabapentin at 900 mg/day, which is far lower than what in my experience is the effective
dose in most patients. In light of these deficiencies this study would be of limited, if any,
value to the practicing physician.

Nothing in Dr. McCrory’s report contradicts my opinion that gabapentin is an effective
migraine preventive treatment. In fact, Dr. McCrory fails to conclude that gabapentin is
ineffective in migraine prevention. He and I both recognize that there is evidence in the
literature that gabapentin is effective for the treatment of migraine. Dr. McCrory does
not describe any clinical experience he has with treatment of headache patients with
gabapentin; I have treated thousands of patients with gabapentin over many years and
still use it today.

Here is where my experience in the ability to evaluate gabapentin and Dr. McCrory’s
diverge. Dr. McCrory, by his own admission, is a specialist in trial design and
evaluation, not as a clinician. He analyzes studies and concentrates on data, and | care
for patients with migraine who are in severe pain and concentrate on their improvement.
Although I have participated in well over 150 clinical trials on headache, and helped
write the protocols for some, and evaluate trials in papers I review for publication, most
of my life has been spent caring for migraineurs in the clinic. As a general neurologist
for the first 7 years of my private practice, 40 percent of my patients had headache,
mostly migraine. For the next 29 years, as a headache specialist, the great majority of my
patients had migraine. I have cared for over 20,000 patients in my headache center,
hospital and medical school clinics. Thousands of those patients have taken gabapentin
for headache, either prescribed by me or others. For the last 20 years, 90% of my clinical
time was taken up primarily with the care of difficult to treat migraine patients. Many of
these patients improved for the first time when placed on gabapentin. With my 36 years
of clinical experience and being boarded in both headache medicine and neurology, I
bring a very different expertise to treating the headache patient than Dr. McCrory.

The type of evidence I look to as a clinician is whether the patient improves. Dr.
McCrory looks at the primary and secondary endpoints and whether they are met. Both
are important, but if a disabled patient in pain improves markedly on a drug that has not
shown statistical significance for a certain endpoint, in a specific paper, neither the
patient nor I am troubled by that (and Dr. McCrory probably would not mind either, if he
or a relative or friend were the patient).

In my own treatment of headache patients who need daily preventive medications for
migraine (for a variety of reasons such as frequency of attacks, degree of disability, lack
of response to acute care medications, etc.), I use off-label medications more often than
FDA-approved medications for migraine. It is common to use off-label medication in my
field of expertise as a neurologist and headache specialist, as so few medications are
FDA-approved for migraine, especially in the preventive category. In deciding which
medication to use for a patient, physicians use a variety of sources as well as their
personal experience and the word of trusted colleagues. We often depend on the
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 6 of 37

literature, reviewing well-documented studies and less well-documented case reports,
anecdotal reports, word of mouth, randomized trials, open trials, double-blind controlled
randomized trials and information gleaned from meetings, textbooks, symposia,
supplements to journals and courses we have ‘taken.

A significant reason that causes us to look beyond what is approved by the FDA is that
we have available only 4 medications approved by the FDA for migraine prevention.
Two are beta blockers and there are many adverse events from and contraindications to
the use of beta blockers. More importantly, most of my new patients have already been
tried on between one and three beta blockers, one or more of which are not approved by
the FDA, and could either not tolerate the adverse events or did not improve.

There are also 2 anticonvulsants approved by the FDA for migraine prevention.
Divalproex sodium is an effective drug which has to be given extremely cautiously, or
not at all, to women of child bearing potential as it can cause spinal cord defects if a
woman becomes pregnant on the drug. It can also cause significant weight gain,
endocrine problems, hair loss and tremor, so most women are reluctant to take it and it is
difficult to prescribe. The fourth FDA-approved drug is topiramate, which is effective
but can cause cognitive and psychological problems, paresthesias, weight loss, kidney
stones, oligohydrosis, and angle closure glaucoma amongst other side effects. Clinical
trials show that it is only effective in up to 52% of patients, so it is not for everyone.

That leaves many other antiepileptics, such as gabapentin and zonisamide, calcium
channel blockers, antidepressants, vitamins, minerals and herbs, botulinum toxin-A,
angiotensin receptor blockers and others, all of which I use frequently, and all of which
are off-label.

Treating complex migraineurs with preventive medications is a difficult, highly
individual, patient-specific process. When a practicing headache specialist has to decide
on which preventive medication to prescribe for a patient, he or she must take a careful
history of what has been tried before, whether it worked or not and if there were any
adverse events and what the details of those adverse events were. We have to know the
number of milligrams of the pill, how many pills were taken per day and whether it was
given for an appropriate length of time. Ifthe drug was stopped by the patient or the
physician, we need to discover if that was because it caused adverse events or was not
effective, or for other reasons. Before prescribing the next preventive medication, it is
imperative to know if there could be any significant drug-drug interactions which might
prevent us from giving the drug. Also comorbid illnesses may dictate which medications
could be very helpful and which are contraindicated. If the four on-label medications for
migraine have been tried and either did not work after an adequate trial or caused too
many side effects, or could not be used due to potential serious drug-drug interactions,
then an off-label drug should be tried. Even.if the four on-label drugs have not all been
tried, there may be good reasons to try an off-label drug.

Comorbid illness often dictates what we should use. For instance, if I have a patient with
diabetes and hypertension who had a kidney stone and who is thinking of getting
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 7 of 37

pregnant, I would not give her a beta blocker for her hypertension (as it should not be
given in diabetes) or divalproex sodium for her migraine (it should not be used if there is
a chance of pregnancy), or topiramate (as it can cause kidney stones). In that situation I
would probably opt for an off-label angiotensin receptor blocker which would lower her
blood pressure, may help her migraine and probably would be no problem if she became
pregnant.

Because treating a migraineur (or any other patient) is a highly individualized process,
the optimal treatment will differ from one patient to the next. No one drug or list of
drugs can therefore be said to be superior to gabapentin for all patients. I have
nevertheless reviewed plaintiffs’ lists of proposed alternate medications to gabapentin for
migraine prevention and disagree with any assertion that any of the drugs plaintiffs
identify is necessarily a more optimal migraine preventive medication than gabapentin.

I am not aware of any head-to-head study that concludes that any of the drugs on
plaintiffs’ list is more tolerable, safer, and more effective in migraine prophylaxis than
gabapentin. Indeed, all of the drugs that plaintiffs identify have limitations that would, in
many patients, make them less optimal alternatives to gabapentin. Only five of the drugs
that plaintiffs identify (divaolproex sodium, methysergide, topiramate, timolol, and
propranolol) have been indicated for migraine prophylaxis. As I discuss above,
divalproex sodium should not be given to women of child bearing potential (who make
up a very large segment of migraine sufferers) and it otherwise causes side effects that
make many patients reluctant to take it. Likewise, topiramate is not effective in many
patients and it causes myriad side effects, including cognitive and speech problems,
increased pressure in the eyes (similar to glaucoma), kidney stones, fever in children, and
tingling in the arms and legs. Timolol and propranolol are both beta-blockers and are
contraindicated in patients with asthma, diabetes, depression and other psychiatric
conditions, and patients with low blood pressure, and they also have many unwanted side
effects. The fifth drug, methysergide (Sansert) is no longer manufactured in the United
States and is rarely used today, Patients taking methysergide can develop retroperitoneal
fibrosis, pleuropulmonary fibrosis, and fibriotic thickening of cardiac valves. In fact,
Sansert’s product label contains a “black box” warning for these conditions and cautions
that it should be used only in patients whose ‘headaches are frequent or severe and
uncontrollable and who are under close medical supervision.

The remaining drugs (those that are not available over-the-counter) are all off-label for
migraine prophylaxis and many are drugs that, in my opinion, should not be used for
migraine prevention. For example, plaintiffs identify a number of triptans that are
indicated for acute migraine treatment (almotriptan, eletriptan, frobatriptan, naratriptan,
rizatriptan, sumatriptan and zolmitriptan). In my opinion, triptans should almost never be
used as migraine prophylaxis because they can cause medication overuse headache and a
lack of response over time. Triptans are also contraindicated in anyone with coronary
artery disease or high blood pressure and they can cause a number of unwanted side
effects, including chest discomfort and nausea. Plaintiffs also identify a number of beta-
blockers (atenolol, bisoprolol, labetalol, metroprolol, nadolol, penbutolol, and sotalol)
that are not indicated for migraine prophylaxis but that have the same drawbacks and
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 8 of 37

limitations as timolol and propranolol. They likewise list a number of non-steroidal anti-
inflammatory drugs (NSAIDs) that may cause severe gastrointestinal and heart problems
and which, like triptans, can cause medication overuse headaches when used daily as a
prophylactic treatment. Intranasal dihydroergotamine, though indicated for the acute
treatment of migraine, is likewise not a good preventive medication. It, like triptans, is a
vasoconstrictor and it therefore has many of the same drawbacks as triptans. Butorphanol
nasal spray is indicated for acute care in any painful condition, but it is an opioid. It can
cause dependency and depression and should be use sparingly and as a last line only in
migraine prevention. Amitriptyline hydrochloride likewise has a number of limitations —
it has many side effects, including weight gain, drowsiness, dry mouth, constipation,
confusion and disorientation, and it should be prescribed with caution to elderly patients.

The over-the-counter drugs that plaintiffs identify (acetaminophen, aspirin, aspirin and
caffeine, ibuprofen, and naproxen sodium) have many of the same limitations as the off-
label drugs that plaintiffs identify. For example, ibuprofen and naproxen sodium are
NSAIDs that have the same gastrointestinal and other side effects as other NSAIDs.
Most of the over-the-counter drugs that plaintiffs list also have the same risk for
medication overuse headache as triptans and some of the other drugs that plaintiffs
identify when used for migraine prophylaxis rather than acute treatment. Moreover, I
disagree that the over-the-counter drugs that plaintiffs identify can truly be deemed
alternates to gabapentin. J believe it is far more likely that most migraineurs would have
tried and failed on available over-the-counter medications before a physician would have
tried those patients on a prescription drug like gabapentin.

In contrast, gabapentin has few drug interactions and mild side effects and, at dosages
around 2400 mg/day, it is an effective migraine preventive medication. When gabapentin
(Neurontin) became available, I tried it in many patients as it had fewer adverse events
than the only antiepileptic drug which was approved for migraine prevention at that time,
divalproex sodium. Gabapentin also had less chance of causing a serious problem if a
patient became pregnant on it compared with divalproex sodium. Up to that point in my
career, divalproex sodium was one of the main preventive medications that I turned to, in
spite of the significant side effect profile and the contraindications. So when gabapentin
became available, I turned to it as my favorite migraine preventive drug and turned away
from divalproex sodium, except in special circumstances. Gabapentin was easy to use due
to lack of significant drug-drug interactions and caused few adverse events at low to
moderate doses. I noticed that it helped close to half of the patients for whom I prescribed
it. It seemed to work at higher doses in the 2400 mg range. The rare patient who had to
stop it did so because of drowsiness or weight gain, but never a more serious problem.
Many patients tolerated the minor adverse events if it worked well. Later when
topiramate became available, I used that off-label even more than gabapentin as it seemed
to work a bit better in some patients. I will still use gabapentin in my difficult cluster and
migraine patients who have failed other medications as it can work well with limited
adverse events.

In summary, it is my opinion that off-label use of gabapentin for migraine prevention is
appropriate, effective, tolerable, easy to use and safe for use by physicians and qualified
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 9 of 37

nurses. Without it in my armamentarium, I would not have been as effective a headache
specialist as I have been since it has been available.

I am being compensated for my time at $800 per hour. A list of the materials I reviewed
prior to preparing this report is attached.

 

 

Dated:
December 12, 2008

Alan M. Rapoport, M.D.

Clinical Professor of Neurology
The David Geffen School of Medicine at UCLA
Los Angeles, California

Founder and Director-Emeritus
The New England Center for Headache
Stamford, Connecticut

Board Certified in Neurology and Headache Medicine

Director of Development and Chairman of the Education and Membership Sub-
Committee of the THS
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 10 of 37

List of Materials Reviewed

1.) Jimenez, M.D.; Friera, G.; Manjon, M.T., “Efficacy and Safety of Gabapentin in Prophylaxis
Migraine Headache - A Pilot Study,” Cephalalgia, 19:376 (Abstr II-G2-9) (1999)

2.) Di Trapani, G.; Mei, D.; Marra, C.; Mazza, S.; Capuano, A., “Gabapentin in the Prophylaxis
of Migraine: A Double-Blind Randomized Placebo-Controlled Study,” Clin Ter, 151(3):145-8
(2000)

 

3.) Di Trapani G.; Mei, D.; Marra, C.; Mazza, S.; Capuano, A., “Gabapentin in the Prophylaxis
of Migraine: A Double-Blind, Randomized, Placebo-Controlled Study,” Cephalalgia, 20(4):345-
6 (Abstr 197) (2000)

4.) Mathew, N.T.; Magnus-Miller, L.; Saper, J.; Podolnick, P.; Klapper, J.; Tepper, S.; Stacey,
B.; Ramadan, N., “Migraine Prophylaxis with Gabapentin,” Headache, 39(5):367 (1999)

5.) Mathew, N.T.; Rapoport, A.; Saper, J.; Magnus, L.; Klapper, J., Ramadan, N.; Stacey, B.;
Tepper, S., “Efficacy of Gabapentin in Migraine Prophylaxis,” Headache, 41(Feb):119-28 (2001)

6.) Martinovic, Z.; Ristanovic, D.J., “Gabapentin in the Treatment of Migraine and Epilepsy
Comorbid with Mood and Anxiety Disorders,” Headache Pain, 2(2):83-7 (2001)

7.) Low, N.C.P.; Du Fort, G.G.; Cervantes, P., “Prevalence, Clinical Correlates, and Treatment
of Migraine in Bipolar Disorder,” Headache, 43(9)(Oct):940-9 (2003)

8.) Spira, P.J.; Beran, R.G., ef al., “Gabapentin in the Prophylaxis of Chronic Daily Headache: A
Randomized, Placebo-Controlled Study,” Neurology, 61(12)(23 Dec):1753-9 (2003)

9.) Graff-Radford, S.B., “Migraine Prophylaxis,” Clinics in Family Practice, 7(3)(Sep):445-62
(2005)

10.) Documents identified in August 11, 2008 report of Douglas C. McCrory at “List of
Documents Reviewed.”
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 11 of 37

Cases

Blackard v. Debra Hammond Lawrence, No. 2003-L-004181 (IIL. Cir. Ct) (2006)
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 12 of 37

ALAN M. RAPOPORT, M.D.

CURRICULUM VITAE

Personal Information:

Date of Preparation: | December 5, 2008

Date of Birth: Febrilaty 27,1942

Place of Birth: New York City
Citizenship: American
Office Address: 239 South Orange Drive
Los Angeles, CA 90036
Email: alanrapoport@gmail.com
Spouse: Arja Rapoport, M.S.
Children: Terrence, born 1971
Mark, born 1975
Sabrina, born 1978

Academic Training:

1962 - 1966 DOWNSTATE MEDICAL CENTER, STATE UNIVERSITY OF NEW YORK,
Brooklyn, New York. M.D. Degree, June, 1966.

1965 In my last year of Medical School, I spent two months doing clinical neurology
at the Institute of Neurology at Queen Square, London and two months doing
research in neuroanatomy at St. Thomas's Hospital Medical School, London.

1958 - 1962 DARTMOUTH COLLEGE, Hanover, New Hampshire.
B.A. Degree in zoology, June, 1962.

Licensure: California-#00006394
Connecticut-#014540
Florida-#ME0015383
New York-#099257-1
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 13 of 37

Traineeship:
1970 - 1972
1969 - 1970

1967 - 1970

1966 - 1967

Alan M. Rapoport, M.D. 2

N.LH.Post-Doctoral Fellowship in Neuromuscular Disease (See Military Service)
THE MOUNT SINAI HOSPITAL , New York, Chief Resident in Neurology.

THE MOUNT SINAI HOSPITAL , New York, Junior Assistant and
Assistant Resident in Neurology.

THE MAIMONIDES MEDICAL CENTER, Brooklyn, New York, Internship in
Medicine.

Specialty Board Certification:

Military Service:

Certified by the UCNS (United Council of Neurological Subspecialties) in
Headache Medicine, December, 2006

 

Certified by the American Board of Psychiatry and Neurology (Neurology) -
April, 1973 - Certification Number 12606

Diplomate of the National Board of Medical Examiners, 1967.

UNITED STATES PUBLIC HEALTH SERVICE (US PHS)

Surgeon (Equivalent to Lt. Commander, U.S. Navy) July, 1970 - June, 1972.
Stationed at The National Institutes of Health, Bethesda, Maryland.
Clinical Associate in Medical Neurology specializing in neuromuscular
disease, research on the ultrastructure of peripheral nerve and muscle, and
clinical care of patients with nerve and muscle disease.

Professional Organizations and Societies

Current and Recent Professional Activities:

2007 —- present

2007 — present

2007 ~ present

TEACHING AT UCLA DEPARTMENT OF NEUROLOGY
Clinical Professor of Neurology

The David Geffen School of Medicine at UCLA

Los Angelse, California

PRIVATE PRACTICE IN NEUROLOGY
Santa Monica, California

TEACHING COLUMBIA UNIVERSITY MEDICAL STUDENTS (3” Year Med)
Stamford Hospital, Stamford, CT
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 14 of 37

2006 to Present

1979 - 2006

1994 — 2006

Alan M. Rapoport, M.D. 3

THE NEW ENGLAND CENTER FOR HEADACHE, P.C.
Founder and Director- Emeritus
778 Long Ridge Road, Stamford, Connecticut 06902-1251

THE NEW ENGLAND CENTER FOR HEADACHE, P.C.
Founder and Director

778 Long Ridge Road, Stamford, Connecticut 06902-1251
,An outpatient headache diagnostic and treatment facility.

* Treatment of over 20,000 headache patients to date using pharmacologic and
nonpharmacologic techniques. Ongoing supervision and involvement in
research, publishing and patient care. Supervision of staff including nurse
practitioners, physicians, International Headache Society Clinical Fellows, other
fellows, residents, medical students, registered nurses, technicians and executive
assistants, secretarial /administrative personnel.

* Development of non-pharmacologic, physiological and behavioral treatment
therapies including biofeedback and relaxation techniques (which led to the
creation of The New England Institute of Behavioral Medicine).

* Ongoing development and participation in approximately 200 open and
double-blind, placebo-controlled clinical trials in the development and testing of
new and approved pharmacologic agents for the treatment of headache and
other neuropsychiatric conditions.

THE NEW ENGLAND RESEARCH INSTITUTE

778 Long Ridge Road, Stamford, Connecticut 06902-1251

Founder and Director

Director and Co-founder of a neuropsychiatric research institute comprised of
two board certified neurologists, and a psychiatrist. The staff also includes two
Ph.D. neuropsychologists, a clinical fellow with an M.D. and Ph.D. degrees, 2
study coordinators with Master's degrees, one nurse practitioner, three registered
nurses and other administrative staff.

* The institute specializes in clinical trials for treatment of
neurological/psychiatric disorders including Headache and Alzheimer’s
Disease. Institute activities include designing clinical trials, administering
clinical trials, consulting with pharmaceutical companies, entering patients into
study protocols, neuropsychological evaluations, physical and neurological
exams, and computer data transmission.

» The institute is affiliated with The Neurological Clinical Trial Network (NCTN)
of The New York-Presbyterian Hospital

* The institute maintains an active recruitment program through marketing
and a network of healthcare professionals and satisfied patients. To date the
institute has treated thousands of patients and served as a valuable resource for
bringing new and effective medications to the marketplace.
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 15 of 37

1988 - 2001

1972 -2006

Societies:

Alan M. Rapoport, M.D. 4

THE GREENWICH HOSPITAL INPATIENT HEADACHE UNIT

Medical Director

Medical Director of the Greenwich Hospital Inpatient Unit founded in 1988, a
comprehensive, interdisciplinary inpatient program for the care of patients with
daily and/or intractable headache conditions. This program was one of the few
full time, comprehensive, dedicated inpatient headache units in the world.

PRIVATE PRACTICE IN NEUROLOGY

Former address: 2 1/2 Dearfield Drive, Greenwich, Connecticut 06831.

Most recent address: Suite 27, 778 Long Ridge Road, Stamford, Connecticut
06902-1251

Affiliated with Greenwich, Stamford and New York - Presbyterian Hospitals.
Affiliated with Greenwich Hospital Neurology Clinic

Affiliated with Columbia University Neurology Clinic,

ALZHEIMER DISEASE MEDICAL NETWORK OF FAIRFIELD COUNTY
Co-Founder (inactive)

AMERICAN ACADEMY OF NEUROLOGY (AAN)
Fellow
Past Headache and Pain Chair for Selection of Abstracts
Lecturer in several courses including Therapy of Neurology (2007)
Formerly Director of and lecturer in course on Chronic Daily Headache

AMERICAN HEADACHE SOCIETY (AHS) formerly the AMERICAN
ASSOCIATION FOR THE STUDY OF HEADACHE (AASH)
Former Member, Board of Directors
Lecturer and member of various committees
AMERICAN PAIN SOCIETY (inactive)
ANIRCEF (Italian Neurological Association for Cephalalgia Research)
CONNECTICUT STATE MEDICAL SOCIETY (Lifetime member)
FAIRFIELD COUNTY MEDICAL SOCIETY (lifetime member)
FAIRFIELD COUNTY NEUROLOGY SOCIETY
Founder and Immediate Past President
GREENWICH MEDICAL SOCIETY (inactive)
HEADACHE COOPERATIVE OF NEW ENGLAND (HCNE)
Founder, Director, Past President
Founding President
Director, Corporate Liaisons
INTERNATIONAL HEADACHE SOCIETY (IHS)
Chairman, Membership and Education Subcommittee
Corporate Liaison to the Executive Committee
Member Electronic Education Task Force
Charter Member since 1981
NATIONAL HEADACHE FOUNDATION (NHF)
NEW ENGLAND PAIN ASSOCIATION (inactive)
SOUTHERN CLINICAL NEUROLOGICAL SOCIETY
Chairman, Headache Course since 2005
STAMFORD MEDICAL SOCIETY (inactive)
UCNS (United Council of Neurological Subspecialties) Board Certified in
Headache Medicine December, 2006
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 16 of 37

Alan M. Rapoport, M.D. 5

Academic Appointments:

2006 — present

THE DAVID GEFFEN SCHOOL OF MEDICINE AT UCLA, Los Angeles,
California,
Clinical Professor of Neurology

2002 - 2006 COLUMBIA UNIVERSITY COLLEGE OF PHYSICIANS & SURGEONS, New
York, New York.
Clinical Professor of Neurology

1977 - 2002 YALE UNIVERSITY SCHOOL OF MEDICINE, New Haven, Connecticut.
Assistant Clinical Professor of Neurology

1973 - 1990 NEW YORK MEDICAL COLLEGE, Valhalla, New York.
Assistant Clinical Professor of Neurology

1969 - 1974 THE MOUNT SINAI SCHOOL OF MEDICINE, New York, New York.
Clinical Instructor in Neurology

Hospital Appointments:

2006 — present

2002 — 2006

2002 - present

1988 ~ 2001

1972 - 2002

1972 - Present

THE DAVID GEFFEN SCHOOL OF MEDICINE AT UCLA, Los Angeles,
California
Attending in Neurology, active staff, Department of Neurology

NEW YORK - PRESBYTERIAN HOSPITAL, New York, New York
Attending in Neurology, active staff, Department of Neurology.

GREENWICH HOSPITAL, Greenwich, Connecticut
Consultant in Neurology

GREENWICH HOSPITAL, Greenwich, Connecticut
Medical Director of the In-Patient Headache Unit.

GREENWICH HOSPITAL, Greenwich, Connecticut.

Attending Staff

Chief of Neurology, 1983 to 1993, Department of Medicine, Division of
Neurology.

STAMFORD HOSPITAL, Stamford, Connecticut
Attending in Neurology, currently Courtesy Staff, Department of Medicine,
Division of Neurology.

Teaching Experience:
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 17 of 37

Alan M. Rapoport, M.D. 6
Clinical Professor of Neurology at The David Geffen School of Medicine at
UCLA, Los Angeles, California at present
35 years of teaching medical students, house staff and

attending on rounds, in clinics and by didactic lectures (locally, regionally,
nationally and internationally). See academic appointments above.

Other Professional Activities:
A) Editorial positions (see below).

B) I currently lecture an average three times a week to physicians around the US
and internationally.

Television and Radio:

Numerous radio and TV shows including:

The Sunday Today Show, NBC Network, Easter Sunday, 2002

Fox News Network, March 1997, July and December 1996.

The Today Show, NBC Network, January 22, 1996.

20/20, ABC Network, January 19, 1996.

Dateline NBC, NBC Network, Update on Headache, August 10, 1994.

Numerous Appearances in the media, i. e., 20/20, ABC; Innovations, PBS; CNN News; Sonja Live, CNN;
Sunday Today, NBC; WNBT News Scientific Feature with Al Roker, NBC; Two on the Town, CBS; Good
Morning America, ABC; Cover to Cover, NBC; CBS This Morning, CBS.

Appearance on Cable TV of Connecticut on multiple occasions. Topics: New Treatments in Headache.

Several radio shows on diagnosis and treatment of headache WNLK AM and KISS FM, Norwalk,
Connecticut, 1989 to present.

Several shows on Headache Update WSTC, Stamford, Connecticut, and WGCH, Greenwich, Connecticut,
1989 to present.

Books and Chapters:

Bussone, G, Rapoport, A. Acute Treatment of Cluster Headache and other TACs. In Moskowitz, M. et al Eds
The Clinical Handbook of Neurology, in press

Leone, M, Rapoport A. Preventive and Surgical Management of Cluster Headaches. In Olsen, J. et al Eds
The Headaches, 3rd edition, Philadelphia: Lippincott Williams & Wilkins, 2006, p 809

Purdy A, Rapoport A, Tepper S, Sheftell F. eds. Advanced Therapy of Headache, 2nd edition. Toronto: BC
Decker, 2005.
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 18 of 37

Alan M. Rapoport, M.D. 7

Tepper SJ, Bigal ME, Sheftell FD, Rapoport AM. Botulinum Toxin Type A in the Treatment of Refractory
Headache. In Olesen, J. et al Eds. Preventive Pharmacotherapy of Headache Disorders. Oxford: Oxford
University Press 2004, pp 138-141.

Rapoport AM, Bigal ME, Tepper SJ, Sheftell FD. Naratriptan in the Preventive Treatment of Refractory
Chronic Migraine. In Olesen, J., et al. Eds. Preventive Pharmacotherapy of Headache Disorders. Oxford:
Oxford University Press 2004; pp 205-211.

Blumenthal H, Rapoport A. Common Headache Syndromes. In Warfield C, and Bajwa Z, eds. Principles
and Practice of Pain Management. New York: McGraw-Hill, 2004.

Rapoport A, Sheftell F, Tepper S. Conquering Headache, 5th edition, Hamilton: Decker DTC, 2004.

Rapoport A, Pharmacological Treatment of Migraine. In Samuels M, et al, eds in Office Practice of
Neurology, 2™ edition. New York: Churchill Livingstone, 2003. —

Rapoport A, Sheftell F, Tepper S. Conquering Headache, 4th edition, Hamilton: Decker DTC, 2003.
Tepper SJ, Sheftell FD, Rapoport AM eds. The Spectrum of Migraine. New York: CNS News, 2002.
Rapoport A, Sheftell F, Tepper S. Conquering Headache, 3” edition, Hamilton: Decker DTC, 2001.

Rapoport A. Cerebral Vascular Disease and Headache. In Diamond M, and Solomon G, eds. Diamond and
Dalessio's The Practicing Physician's Approach to Headache. Philadelphia: W.B. Saunders Co., 2000.

Rapoport A, Sheftell F, Purdy A. eds. Advanced Therapy of Headache. Toronto: BC Decker, 1999.

Rapoport A. Making Headway Against Migraine. In Encyclopedia Britannica’s 1998 Medical and Health
Annual, 1998; 293-298.

Rapoport A, Sheftell F. Conquering Headache, 2™ edition, Toronto: Empowering Press, 1998.

Rapoport A, Lipton R. Pharmacological Treatment of Migraine. In Samuels M, et al, eds. Office Practice of
Neurology. New York: Churchill Livingstone, 1996,

Lipton R, Rapoport A. Diagnosis of Migraine. In Samuels M, et al, eds. Office Practice of Neurology.
New York: Churchill Livingstone, 1996,

Rapoport A, Sheftell F. Headache Disorders: A Management Guide for Practitioners. Philadelphia: W.B.
Saunders Company, 1996.

Rapoport A, Sheftell F. Headache Relief for Women. Boston: Little, Brown and Company, 1995.
Rapoport A, Sheftell F. Conquering Headache. Toronto: Empowering Press, 1995.

Rapoport A -quoted in Home Remedies; What Works. Malesky G, Kaufman B and editors of Prevention
Magazine Health Books. Emmaus, Pennsylvania: Rodale Press, 1995.

Rapoport A, Sheftell F. eds, Headache: A Clinician’s Guide to Diagnosis, Pathophysiology and Treatment
Strategies. Costa Mesa, CA: PMA Publishing, 1993
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 19 of 37

Alan M. Rapoport, M.D. 8
Rapoport A. Headache Associated with Medication and Substance Withdrawal. In: Tollisson C, et al,
eds. Headache: Diagnosis and Management. Baltimore: Williams and Wilkins, 1993.
Rapoport A, Sheftell F, Headache Relief. New York: Fireside Books, 1991.
Rapoport A, Sheftell F, Headache Relief. New York: Simon and Schuster, 1990.

Rapoport A, Sheftell F, Labson L. Headache. Collier's Encyclopedia, Health and Medical Horizons. New
York: MacMillan Educational Company, 1984. 4-17.

Medical Consultant for Time-Life Books, Library of Health Series: Dealing with Headaches, 1982.

Editorial Positions:

Former Member of the Editorial Board of Cephalalgia, an international headache journal, 1985-2000
Currently a reviewer for Cephalalgia.

Reviewer for Headache, 1993-Present.

Supplement Editor for Headache 2004-Present

Reviewer and currently Mmber of the Editorial Board for CNS Drugs, 1996-Present.
Reviewer for Neurology.

Reviewer for Journal of Clinical Neuropharmacology

Member of the Editorial Board of Headache Quarterly, 1997-2003.

Member of Editorial Board of Head Pain 2003 - present.

Editor of Seminars in Headache Management, Decker Periodicals, 1996-Present.

Member of the Editorial Board of Topics in Pain Management: Current Concepts and Treatment Strategies,
PSG Publishing Co., 1985-Present.

Reviewer for Managed Care and Pharmacoeconomics, 1996-Present.

Member of Editorial Board of Neurology Reviews, 1995 to present.

Other Activities:

American Association for the Study of Headache (AASH), now named American Headache Society
(AHS), Board of Directors, 1988-1991, 1995-1996,

American Association for the Study of Headache, (AASH), now named American Headache Society
(AHS), member of several committees, 1986 to present.

I have attended all of the meetings of the The International Headache Congress, since the Initial meeting
In Munich, Germany, 1983 with the exception of one. These meetings Include Barcelona, Spain, May 1999,
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 20 of 37

Alan M. Rapoport, M.D. 9

Amsterdam, The Netherlands, June 1997, Toronto, Canada, September, 1995, Paris, France, August 1993,
Washington D. C., July 1-3, 1991, Florence, Italy, September, 1987 and Munich, Germany, 1983.

Attended Migraine Trust, London, England, on multiple occasions, including September 25-28, 1990,
1992,

Lecturer on Headache Inpatient Treatment Programs in the U. S. at the Department of Neurology,
Turku University, Finland, on several occasions including July 1987, 1990.

Lecturer in Neurology at the National Hospital at Queen Square, September 1986, invited by Professor
Nathan Blau.

Publications:

Bigal M, Sheftell F, Tepper S, Tepper D, Ho T, Rapoport A. “Randomized Double-Blind Study Comparing
Rizatriptan, Dexamethasone, and the Combination of Both in the Acute Treatment of Menstrually Related
Migraine.” Headache: The Journal of Head and Face Pain 2008;48:1286-1293

Rapoport, AM. “Medication Overuse Headache; Awareness, Detection and Treatment.” CNS Drugs
2008;22(12):995-1004

Rapoport, A.M. “Acute and Prophylactic Treatment for Migraine:Present and Future.” Neuol., Sci (Suppl)
2008;29:1-13

Ho TW, Mannix LK, Fan X, Assaid C, Furtek C, Jones CJ, Lines CR, Rapoport AM. “Randomized controlled trial
of an oral CGRP receptor antagonist, MK-0974, in acute treatment of migraine.” Neurology 2007 Oct 3; [Epub
ahead of print]

Rapoport AM, Mathew NT, Silberstein SD, Dodick D,Tepper SJ, Sheftell FD and Bigal ME. “Zolmitriptan
nasal spray in the acute treatment of cluster headache: A double-blind study.” Neurology 2007;69(9):82 1-26

Dodick DW; Silberstein 5; Saper J; Freitag FG; Cady RK; Rapoport AM; Mathew NT; Hulihan J; Crivera
C; Rupnow MF; Mao L; Finlayson G; Greenberg SJ. “The impact of topiramate on health-related quality
of life indicators in chronic migraine.” Headache 2007; 47 (10):139

Peterlin BL, Bigal ME, Tepper SJ, Urakaze M, Sheftell, FD & Rapoport AM. “Migraine and Adiponectin:
Is there a Connection?” Cephalalgia 2007;27:435-446

Bigal M, Rapoport A, Aurora S, Sheftell F, Tepper S, Dahlof C,(2007) “Satisfaction With Current Migraine
Therapy: Experience From 3 Centers in US and Sweden” Headache: The Journal of Head and Face Pain 47 (4),
475-479

Rapoport A, Mauskop A, Diener HC, Schwalen §, Pfeil, J. “Long-Term migraine prevention with
topiramate: open-label extension of pivotal trials.” Headache 2006. 46(7):1151-60

Vogler B, Rapoport AM, Tepper SJ, Sheftell F, Bigal ME. “Role of melatonin in the pathophysiology of
migraine : implications for treatment.” CNS Drugs 2006;20(5):343-50

Rapoport AM, Tepper SJ, Sheftell FD, Kung E., Bigal ME. “Which triptan for which patient?” Neurol Sci.
2006 May; 27 Suppl 2:s123-9

Bigal ME, Sheftell FD, Tepper SJ, Rapoport AM. “Migraine and silent infarcts. Are we making the
proper decisions? Cephalalgia 2006 May;26(5):629-30
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 21 of 37

Alan M. Rapoport, M.D. 10

Meskunas CA, Tepper SJ, Rapoport AM, Sheftell FD, Bigal ME. “Medications associated with probable
medication overuse headache reported in a tertiary care headache center over a 15-year period.”
Headache 2006 May; 46(5):766-72

Volcy M, Rapoport AM, Tepper SJ, Sheftell FD, Bigal ME. “Persistent idiopathic facial pain responsive to
topiramate.” Cephalalgia 2006 Apr; 26(4):489-91

Bigal ME, Tepper SJ, Sheftell FD, Rapoport AM, “Field testing alternative criteria for chronic migraine.”
Cephalalgia 2006 Apr; 26(4):477-82

Bigal, ME, Gironda M, Tepper SJ, Feleppa M, Rapoport AM, Sheftell FD, Lipton RB. “Headache
prevention outcome and body mass index. Cephalalgia 2006 Apr; 26(4):445-50

Sparaco M, Feleppa M, Lipton RB, Rapoport AM, Bigal ME. “Mitochondrial dysfunction and migraine:
evidence and hypotheses. Cephalalgia 2006 Apr; 26(4):361-72

Volcy M, Tepper SJ, Rapoport AM, Sheftell FD, Bigal ME. “Botulinum toxin A for the treatment of
greater occipital neuralgia and trigeminal neuralgia: a case report with pathophysiological
considerations.” Cephalalgia 2006 Mar; 26(3):336-40

Sheftell FD, Rapoport AM, Tepper SJ, Bigal ME. “Naratriptan in the Preventive Treatment of Refractory
Transformed Migraine: A Prospective Pilot Study.” Headache 2005 November / December; 45(10):1400-
1406

Bigal ME, Rapoport AM, Sheftell FD, Tepper SJ, Lipton RB “Chronic migraine is an earlier stage of
transformed migraine in adults.” Neurology 65 2005 November (2 of 2);1556-61

Martelletti P, Haimanot RT, Lainez MJ, Rapoport AM, Ravishankar K, Sakai F, Silberstein SD, Vincent M,
Steiner TJ. “The Global Campaign (GC) to Reduce the Burden of Headache Worldwide. The
International Team for Specialist Education (ITSE).” J Headache Pain 2005 Sep;6(4):261-3

Volcy M, Sheftell FD, Tepper SJ, Rapoport AM, Bigal ME. “Tinnitus in migraine: an allodynic symptom
secondary to abnormal cortical functioning?” Headache 2005 September;45 (8):1083-7

Bigal ME, Sheftell FD, Tepper SJ, Rapoport AM, Lipton RB. “Migraine days decline with duration of
illness in adolescents with transformed migraine.” Cephalalgia 2005 Jul;25(7):482-7

Volcy M, Tepper SJ, Rapoport AM, Sheftell FD, Bigal ME. “Short-lasting unilateral neuralgiform
headache attacks with cranial autonomic symptoms (SUNA)--a case report.” Cephalagia 2005
Jun;25(6):470-2

Bigal ME, Rapoport AM, Tepper SJ, Sheftell FD, Lipton RB. “The classification of chronic daily headache

in adolescents--a comparison between the second edition of the international classification of headache
disorders and alternative diagnostic criteria.” Headache 2005 May;45(5):582-9

Rapoport AM, Bigal ME. “Migraine preventive therapy: current and emerging treatment options.”
Neurological Sciences 2005 May; (Suppl 2) 26:S111-S120

Purdy RA, Rapoport AM. From the supplement editors Headache. 2005 April; 45(4):272
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 22 of 37

Alan M. Rapoport, M.D. 1]

Bigal ME, Feleppa M, Tepper SJ, Sheftell FD, Rapoport AM, Lipton RB. “Headache Prevention Outcome
and Body Mass Index.” Neurology 64 2005 March; (Suppl 1) A132

Lipton RB, Rapoport AM, Tepper SJ, Sheftell FD, Bigal ME. “The Classification of Chronic Daily
Headache in Adolescents.” Neurology 64 2005 March; (Suppl 1) A133

Dahlof C, Aurora SK, Sheftell FD, Rapoport AM, Tepper SJ, Bigal ME. “Satisfaction with Current
Migraine Therapy: Experience from 3 Centers in US and Sweden.” Neurology 64 2005 March; (Supp! 1)
A336

Rapoport AM, Mauskop A, Schwalen S, Wu S-C, Pfeil J. “Long Term Effectiveness of Topiramate for
Migraine Prevention: Analyses of Open-Label, Extension Phase Data from Two Pivotal Studies.”
Neurology 64 2005 March; (Suppl 1) A336

Elkind A, Greenberg S, Rapoport AM, Finlayson G, Freitag F, Fisher A, Hulihan J. “Evolution to
Sensitization and Allodynia: interim Results from AIMS: Axert® 12.5 mg Time vs Intensity Migraine
Study.” Neurology 64 2005 March; (Suppl 1) A348

Volcy M, Tepper SJ, Rapoport AM, Sheftell FD, Bigal ME. “Botulinum toxin A for the treatment of
greater occipital neuralgia and trigeminal neuralgia: a case report with pathophysiological
considerations.” Cephalagia 2005; 26:336-340

Spierings EL, Rapoport AM, Dodick DW, Charlesworth B. “Acute Treatment of migraine with
zolmitriptan 5 mg orally disintegrating tablet.” CNS Drugs 2004; 18(15):1133-41

Leone M, May A, Franzini A, Broggi G, Dodick D, Rapoport A, Goadsby PJ, Schoenen J, Bonavita V,
Bussone G. Deep brain stimulation for intractable chronic cluster headache: proposals for patient
selection. Cephalalgia 2004; 24:934-937

Bigal ME, Lipton RB, Tepper SJ, Rapoport AM, Sheftell FD. “Primary chronic daily headache and its
subtypes in adolescents and adults.” Neurology 2004 Sep 14; 63(5):843-7

Bigal ME, Rapoport AM, Sheftell FD, Tepper SJ & Lipton RB. “Transformed migraine and medication
overuse in a tertiary headache centre ~ clinical characteristics and treatment outcomes.” Cephalalgia 2004
June; 24:483-490

Rapoport A; Bigal ME. “Preventive Migraine Therapy: What is New.” Neurological Sciences (2004);
25:5177-S185. Review

Rapoport A; Bigal ME. “ID-Migraine.” Neurological Sciences (2004); 24:5258-S260
Rapoport A; Uemura N; Wall A; Gawel M; Dodick D. “Zolmitriptan nasal spray demonstrates rapid

nasal absorption (2 min), early CNS uptake (5 min) and early onset of efficacy (10 min) in the acute
treatment of migraine.” European Journal of Neurology 2004; EFNS 11 (Suppl. 2) 36-182

Bigal ME; Sheftell F; Tepper SJ; Rapoport AM; Lipton RB. “Migraine Days Decline with Duration of IlIness in
Adolescents with Transformed Migraine.” Headache 2004 May; $151:520

Bigal ME; Lipton RB; Rapoport AM; Tepper SJ; Sheftell FD. “The Classification of Chronic Daily
Headache in Adolescents and Adults.” Headache 2004 May; $150:519-520
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 23 of 37

Alan M. Rapoport, M.D. 12

Rapoport AM; Tepper SJ; Sheftell FD; Bigal ME. “Levetiracetam in the Preventive Treatment of
Transformed Migraine.” Headache 2004 May; $144:517

Volcy M.; Arana A.; Isaza R.; Sepulveda D.; Motta M.; Saldarriaga A.; Alvarez J.; Pineda A,; Lopera F.;
Bigal M.; Rapoport A. “Headache Characterization in Patients of Families with Hereditary Dementias.”
Headache 2004 May; S115:504-505

Volcy M.; Arana A,; Isaza R.; Sepulveda D.; Motta M.; Saldarriaga A.; Alvarez J.; Pineda A.; Lopera F.;
Bigal M.; Rapoport A. “Headache Characterization in Patients of Families with Hereditary Dementias.”
Headache 2004 May; F40:481

Sheftell F.D.; Feleppa M.; Tepper S.J.; Rapoport AM; Bigal ME. “Adverse Events Associated with Triptans
- Methods of Assessment Influence the Results.” Headache 2004 May; F13:470

Rapoport, A.; Uemura N.; Wall A.; Gawel M.; Dodick D. “The Time Course of Zolmitriptan Nasal Spray:
Rapid Nasal Absorption (2 minutes), Early CNS Uptake (5 minutes) and Early Onset of Efficacy (10
minutes).” Headache 2004 May; F2:466

Rapoport AM, Bigal ME, Tepper SJ, Sheftell FS. “Intranasal medications for the treatment of migraine
and cluster headache.” CNS Drugs 2004; 18(10):671-85

Prince PB, Rapoport AM, Bigal ME, Sheftell FD, Tepper SJ. “The Effect of Weather on Headache.”
Headache 2004 May; $135:513

Sheftell FD, Bigal ME, Tepper SJ, Rapoport AM. “Sumatriptan: a decade of use and experience in the
treatment of migraine.” Expert Review of Neurotherapeutics 2004 Mar; 4(2):199-209

Sheftell FD, Tepper SJ, Rapoport AM. “Analgesic use: a predictor of chronic pain in medication overuse
headache: the Head-HUNT study.” Neurology 2004 Feb 24; 62(4):677; author reply 677

Rapoport AM, Bigal ME, Tepper SJ, Sheftell FD. “Zolmitriptan (Zomig).” Expert Review of
Neurotherapeutics 2004 Jan; 4(1):33-41

Bigal ME, Sheftell FD, Rapoport AM, Tepper SJ, Weeks R, Baskin SM. “MMPI personality profiles in
patients with primary chronic daily headache: a case-control study.” Neurol Sci 2003 Oct; 24(3): 103-10

Bigal ME, Rapoport AM, Bordini CA, Tepper SJ, Sheftell FD, Speciali JG. “Burden of migraine in Brazil:
estimate of cost of migraine to the public health system and an analytical study of the cost effectiveness of
a stratified model of care. Headache 2003 Jul-Aug; 43(7):742-54

Rapoport AM, Bigal ME. “Hemicrania continua: clinical and nosographic update.” Neurol Sci 2003 May;
24 Suppl 2: S118-21

Rapoport AM, Bigal ME, Volcy M, Sheftell FD, Feleppa M, Tepper SJ. “Naratriptan in the preventive
treatment of refractory chronic migraine: a review of 27 cases.” Headache 2003 May; 43(5): 482-9

Rapoport AM, Bigal ME. “The clinical spectrum of migraine.” Compr Ther 2003 Spring; 29(1): 35-42.
Review

Rapoport AM, Tepper SJ, Bigal ME, Sheftell FD. “The triptan formulations: how to match patients and
products.” CNS Drugs 2003; 17(6): 431-47. Review
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 24 of 37

Alan M. Rapoport, M.D. 13

Bigal ME, Krymchantowski AV, Rapoport AM. “New developments in migraine prophylaxis.” Expert
Opin Pharmacother 2003 Apr; 4(4): 433-43, Review

Bigal ME, Rapoport AM. Lipton RB, Tepper SJ, Sheftell FD, “Assessment of migraine disability using the
migraine disability assessment (MIDAS) questionnaire: a comparison of chronic migraine with episodic
migraine.” Headache 2003 Apr; 43(4): 336-42

Bigal ME, Rapoport AM, Sheftell FD, Tepper SJ. “New migraine preventive options: an update with
pathophysiological considerations.” Rev Hosp Clin Fac Med Sao Paulo. 2002 Nov-Dec; 57(6):293-8. Epub
2003 Feb 17. Review

Bigal ME, Rapoport AM, Camel M. “Cluster headache as a manifestation of intracranial inflammatory
myofibroblastic tumor: a case report with pathophysiological considerations.” Cephalalgia 2003 Mar; 23(2):
124-8

Rapoport AM, Bigal ME, Tepper SJ, Sheftell FD. “Treatment of cluster headache with topiramate: effects
and side-effects in five patients.” Cephalalgia 2003 Feb; 23(1):69-70; author reply 70

Tepper SJ, Bigal ME, Sheftell FD, Rapoport AM. “Botulin Toxin A in the preventive treatment of
refractory headache.” Neurology 2003; 60 (suppl1) 323. The 2003 APS Abstract Database

Tepper SJ, Bigal ME, Sheftell FD, Rapoport AM. Botulin Toxin A in the preventive treatment of refractory
headache. The 2003 IHR seminars. Copenhagen

Rapoport AM, Bigal ME, Volcy M, Sheftell FD, Feleppa M, Tepper SJ. “Naratriptan in the preventive
treatment of refractory chronic migraine.” The 2003 IHR seminars. Copenhagen

Sheftell FD, Bigal ME, Rapoport AM, Feleppa M, Tepper SJ. “Determinants of triptan preference in a
tertiary care migraine population: patterns of use.” Neurology 2003; 60 (supp!1) 237

Bigal ME, Sheftell FD, Rapoport AM, Tepper SJ, Fellepa M. “Triptan use in a migraineur population.
Determinants of preference.” Neurology 2003; 60 (suppl) 170-171

Rapoport AM, Bigal ME, Volcy M, Sheftell FD, Feleppa M, Tepper SJ. “Naratriptan in the preventive
treatment of refractory chronic migraine.” Neurology 2003; 60 (suppl1) 254

Tepper SJ, Bigal ME, Sheftell FD, Rapoport AM. Botulin Toxin A in the preventive treatment of refractory
headache. Neurology 2003; 60 (suppl1) 323

Prince PB, Rapoport AM, Bigal ME, Sheftell FD, Tepper SF. “The effect of weather on headache.” Neurology
2003; 60 (suppl 5):513

Sheftell FD, Bigal ME, Tepper SJ, Rapoport AM. “Patterns of use of triptan in a tertiary care migraine
population.” Headache 2003; 43:534-535
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 25 of 37

Alan M. Rapoport, M.D. 14

Bigal ME, Rapoport AM, Sheftell FD, Tepper SJ, Lipton RB. “Correlation between the 1988 International
Headache Society Diagnostic Criteria, the 2003 revised criteria, and the proposed revisions of criteria for
chronic daily headache.” Headache 2003; 43:509

Rapoport AM, Bigal ME, Tepper SJ, Sheftell FD. “Naratriptan in the preventive treatment of refractory
chronic migraine.” Headache 2003; 43:567-568

Tepper SJ, Bigal ME, Sheftell FD, Rapoport AM. “The effect of botulinum toxin on the disability of
refractory headache.” Headache 2003; 43:579-580

Sheftell FD, Bigal ME, Rapoport AM, Tepper SJ. “Tolerability and efficacy are related after triptan use.”
Cephalalgia 2003; 23:697

Bigal ME, Tepper SJ, Rapoport AM, et al. “Switching behaviors in longitudinal use of triptans.”
Cephalalgia 2003; 23:705

Sheftell FD, Bigal ME, Tepper SJ, Rapoport AM. “Patterns of use of triptans in a tertiary care migraine
population.” Cephalalgia 2003; 23:714

Tepper SJ, Bigal ME, Sheftell FD, Rapoport AM. “Botulinum toxin type A in the preventive treatment of
refractory headache. Comparison between medication overuser and nonoveruser subgroups.”
Cephalalgia 2003; 23:715

Rapoport AM, Bigal ME, Volcy M, Sheftell FD, Feleppa M, Tepper SJ. “Naratriptan in the preventive
treatment of refractory chronic migraine.” Cephalalgia 2003; 23:751

Bigal ME, Rapoport AM, Lipton RB, Sheftell FD, Tepper SJ. “Evaluation of chronic daily headache -
correlation between the International Headache Society and the Proposed Headache Classification for
Chronic Daily Headache Systems.” Presented at the 54 American Academy of Neurology Annual
Meeting — Platform Presentation. Neurology 2002; 58:172

Bigal ME, Tepper SJ, Sheftell FD, Rapoport AM, Lipton RB. “Headache associated with medication
overuse. Data from tertiary care.” Presented at the 54% American Academy of Neurology Annual Meeting
~ Platform Presentation. Neurology 2002; 58170-171

Bigal ME, Rapoport AM, Camel M. Cluster headache as a manifestation of intracranial inflammatory
pseudotumor, A case report with pathophysiological considerations. Presente d at the 54% American
Academy of Neurology Annual Meeting - Poster, Neurology 2002; 58:287

Bigal ME, Rapoport AM, Lipton RB, Sheftell FD, Tepper SJ. “Burden of Migraine in Brazil 1: an Estimate
of the Costs of Migraine to the Public Health System”. Presented at the 44" American Headache Society
Annual Meeting - Poster. Headache 2002; 42:419-420

Tepper SJ, Bigal ME, Sheftell FD, Lipton RB, Rapoport AM. “Burden of Migraine in Brazil 2: an
Analytical Study of the Cost-Effectiveness of a Stratified Model of Care.” Presented at the 44" American
Headache Society Annual Meeting - Poster. Headache 2002; 42:426-427
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 26 of 37

Alan M. Rapoport, M.D. 15

Rapoport AM, Bigal ME, Lipton RB, Sheftell FD, Tepper SJ. “Assessment of Chronic Migraine Disability
using the Migraine Disability Assessment Scale (MIDAS). A Comparison with Episodic Migraine.”
Presented at the 44" American Headache Society Annual Meeting - Poster. Headache 2002; 42:432

Sheftell FD, Bigal ME, Rapoport AM, Tepper SJ, Lipton RB. Clinical “Presentation of Chronic Daily
Headache: Possible Differences Amongst Its Subtypes. Chronic Daily Headache: Identification of Factors
Associated with Induction and Transformation.” Presented at the 44 American Headache Society
Annual Meeting - Poster, Headache 2002; 42:434

Bigal ME, Sheftell FD, Rapoport AM, Lipton RB, Tepper SJ.”Chronic Daily Headache: Identification of
Factors Associated with Induction and Transformation.” Presented at the 44% American Headache
Society Annual Meeting — Platform Presentation. Headache 2002; 42:428

Bigal ME, Sheftell FD, Rapoport AM, Tepper SJ, Lipton RB. “Chronic daily headache: identification of
factors associated with induction and transformation.” Headache 2002 Jul-Aug; 42(7):575-81

Bigal ME, Tepper SJ, Sheftell FD, Rapoport AM. “Hemicrania continua: a report of ten new cases.”
Arg Neuropsiquiatr 2002 Sep; 60(3-B):695-8

Bigal ME, Sheftell FD, Rapoport AM, Lipton RB, Tepper SJ. “Chronic daily headache in a tertiary care
population: correlation between the International Headache Society diagnostic criteria and proposed
revisions of criteria for chronic daily headache.” Cephalalgia 2002 Jul; 22(6):432-8

Tepper SJ, Rapoport AM, Sheftell FD. “Mechanisms of action of the 5-HT1B/1D receptor agonists.” Arch
Neurol 2002 Jul; 59(7):1084-8. Review

Bigal ME, Rapoport AM, Sheftell FD, Tepper SJ. “Long-term follow-up of patients treated for chronic
daily headache with analgesic overuse.” Cephalalgia 2002 May; 22(4):327-8; author reply 328

Bigal ME, Tepper SJ, Rapoport AM, Sheftell FD. “Hemicrania continua: comparison between two
different classification systems.” Cephalalgia 2002 Apr; 22(3):42-5

Tepper SJ, Rapoport AM, Sheftell FD. “Ethical considerations in cluster headache research.”
Curr Pain Headache Rep 2002 Feb; 6(1):47-51. Review

Saper J, Klapper J, Mathew N, Rapoport A, Phillips S, Bernstein J; for the Intranasal Civamide Study
Group. "Intranasal Civamide for the Treatment of Episodic Cluster Headaches." Archives of Neurology
2002; 59:S990-994

Rapoport A, Ryan R, Goldstein J, Keywood C. "Dose Range-Finding Studies With Frovatriptan in the
Acute Treatment of Migraine." Headache 2002; 42 (Suppl 2):74-83.

Bigal ME, Rapoport AM, Lipton RB, Tepper SJ, Sheftell FD. "Burden of Migraine In Brazil; An Estimate of
the Costs of Migraine to the Public Health System.” Headache 2002; 42:419-420

Tepper SJ, Bigal ME, Sheftell FD, Rapoport AM, Lipton RB. "Burden of Migraine In Brazil; An Analytical
Study of the Cost Effectiveness of a Stratified Model of Care." Headache 2002; 42:426-427
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 27 of 37

Alan M. Rapoport, M.D. 16

Rapoport AM, Bigal ME, Lipton RB, Sheftell FD, Tepper SJ."Assessment of Chronic Migraine Disability
Using the Migraine Disability Assessment Scale (MIDAS): A Comparison with Episodic Migraine."
Headache 2002; 42:432

Bigal ME, Sheftell FD, Rapoport AM, Tepper SJ, Lipton RB. “Chronic Daily Headache: Identification of
Factors Related to the Transformation from Episodic Headaches and the Development of New Daily -
Headaches." Headache 2002; 42:428

Wilson MF, Rapoport AM. "Chronic Daily Headache Improvement with Quetiapine: A Chart Review."
Headache 2002 42:426

Sheftell FD, Bigal ME, Tepper SJ, Rapoport AM, Lipton RB. “Clinical Presentation of Chronic Daily
Headache: Possible Differences Among Its Subtypes." Headache 2002; 42:434

Saper J, Diamond S,, Matthew N., Wilks K, Lipton R, Rapoport A, Loder E, Philips S, Bernstein J
“Intranasal Doxepin for the Treatment of Chronic Daily Headache." Headache 2002; 42:433-434

Bigal ME, Sheftell FD, Rapoport AM, Lipton RB and Tepper SJ. “Chronic daily headache in a tertiary care
population correlation between the International Headache Society diagnostic criteria and proposed
revisions of criteria for chronic daily headache". Cephalalgia 2002; 22:432-438

Rapoport AM. “Frovatriptan: pharmacological differences and clinical results.” Curr Med Res Opin 2001;
17 Suppl 1: 568-70. Review

Blumenthal H, Rapoport A. “Clinical Spectrum of Migraine.” The Medical Clinics of North America. July
2001; 85:897-909

Rapoport A. "Frovatriptan: Pharmacological Differences and Clinical Results." Current Medical Research
and Opinion 2001; 17 (Suppl 1):68-70

Williams P, Dowson A, Rapoport A, Sawyer J. "The Cost Effectiveness of Stratified Care In the
Management of Migraine.” Pharmacoeconomics 2001; 19 (8):819-829

Rapoport A, Ryan R. "Speed and Duration of Antimigraine Effects for Zolmitriptan In Relation to the
Time of Day." Headache Quarterly, Current Treatment and Research 2001; 12:27-31

Tepper S, Rapoport A, Sheftell F. "The Pathophysiology of Migraine.” The Neurologist September 2001; 7;
5:279-285

Rapoport A. "The Sumatriptan Nasal Spray: A Review of Clinical Trials." Cephalalgia 2001; 21:13-15

Freitag F, Cady R, DiSerio F, Elkind A, Gallagher M, Goldstein J, Klapper J, Rapoport A, Sadowsky C,
Saper J, Smith T. "Comparative Study of a Combination of Isometheptene Mucate, Dichloralphenazone
With Acetaminophen and Sumatriptan Succinate In The Treatment of Migraine.” Headache 2001; 41:391-
398

Rapoport A, Williams P, Sawyer J, “Stratified Care: Cost-Efficient In the Management of Migraine."
Headache 2000; 40:426

Rapoport A, Edmeads J. "Migraine-the Evolution of Our Knowledge." Archives of Neurology 2000; 57(8):
1221-1223
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 28 of 37

Alan M. Rapoport, M.D. 17
Millson D, Tepper S, Rapoport A. "Migraine Pharmacotherapy with Oral Triptans: A Rational Approach
to Clinical Management.” Experimental Opinion in Pharmacotherapeutics 2000; 1(3):391-404

Rapoport A, Lipton R, Williams P, Sawyer J. "Cost-Effectiveness of Stratified Care in the Management of
Migraine.” Value in Health 2000; 3(2):80

Loder E, Rapoport A, Marcus D, Cady R. “Controversies in Migraine Management." Medical Crossfire
2000; 2 (1):34-41

Walker B, Sheftell F, Rapoport A. "Primary Headache Disorders: An Overview for Primary Care
Providers." Surgical Physician Assistant 1999; 5 (12):38-44

Dahlof C, Rapoport A, Sheftell F, Lines C. "Rizatriptan in the Treatment of Migraine." Clinical
Therapeutics November, 1999; 21 (11):1823-1836

Tepper S, Rapoport A. “The Triptans: A Summary." CNS Drugs 1999; 12 (5):403-417

Mauskop A, Farkkila M, Hering-Hanit R, Rapoport A, Warner J. “Zolmitriptan is Effective for the
Treatment of Persistent and Recurrent Migraine Headache." Current Medical Research and Opinion 1999; 15
(4):282-289

Rapoport A. "Pharmacological Prevention of Migraine." Clinical Neuroscience 1998; 5:55-59

Adelman J, Brod A, Von Seggern R, Mannix L, Rapoport A. "Migraine Preventive Medications: a
Reappraisal." Cephalalgia 1998 ; 18

Rapoport A, Keywood C. "The Dose Range Characteristics of Frovatriptan (VML251) a Potent
Cerebroselective 5HT,,,,, Agonist in the Acute Treatment of Migraine." Cephalalgia 1998; 18:384-385

Rapoport A, Adelman J. Cost of Migraine Management: A Pharmacoeconomic Overview.” American
Journal of Managed Care 1998; 4(1):700-714

Marks D, Rapoport A. "Diagnosis of Migraine." Seminars in Neurology 1997; 17:303-306

Marks D, Rapoport A. "Practical Evaluation and Diagnosis of Headache." Seminars in Neurology 1997; 17:
307

Rapoport A. "Achieving Meaningful Relief from Migraine with Zomig." Cephalalgia 1997; 17:464-465

Rapoport A, Ramadan N, Adelman J, Mathew M, Elkind A, Kudrow D, Earl N. "Optimizing the Dose of
Zolmitriptan (Zomig,* 311C90) for the Acute Treatment of Migraine." Neurology 1997; 49:1210-1218

Rapoport A, Ward R, Katz D, Sheftell F. "Zolmitriptan (‘Zomig’): Rapid Onset of Migraine Relief.”
Cephalalgia May, 1997; 17(3):422

Rapoport A, Sheftell F. "Intranasal Medications for the Treatment of Migraine and Cluster Headache.”
CNS Drugs January, 1997; 7(1):37-46

Queiroz L, Rapoport A, Weeks R, Sheftell F. “Characteristics of Migraine Visual Aura." Headache 1997; 37:
137-141

Rapoport A. "Migraine with Aura and Migraine without Aura: Distinct Clinical Entities?" Cephalalgia
1996; 16:215-216
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 29 of 37

Alan M. Rapoport, M.D. 18

Rapoport A. “Acute Migraine: Which Treatment Approach is Best for Your Patient?" A Special Report:
Special Challenges for the Management of Acute Pain October, 1996

Queiroz LP, Weeks R, Rapoport A, Sheftell F, Baskin S, Siegel S, "Early and Transient Side Effects of
Repetitive Intravenous Dihydroergotamine." Headache 1996; 36:291-294

Rapoport A, Saper J, Silberstein S, Gutierrez-Esteinou R, Su HL, Grebb J, O’Brien B. "Effects of ascending
subcutaneous doses or R091274 in patients experiencing a migraine headache.” Janssen Research
Foundation, Clinical Research Report (ALN-USA-1), January 17, 1996

Rapoport A, Stang P, Gutterman D, Cady R, Markley H, Weeks R, Saiers J, Fox A. "Analgesic Rebound
Headache in Clinical Practice: Data from a Physician Survey.” Headache 1996; 36:14-19

Rapoport A, Cady R, Matthew N, et al. “Optimizing the Oral Dose of 311C90 in the Acute Treatment of
Migraine." Cephalalgia 1995; 15 (supp! 14):221

Rederich G, Rapoport A, Cutler N, Hazelrigg R, Jamerson B. "Oral Sumatriptan for the Long-Term
Treatment of Migraine: Clinical Findings." Neurology 1995; 45 (suppl 7) August: 515-520

Rapoport A, Weeks R, Baskin S, Sheftell F. " Inpatient Headache Treatment : Analysis of Outcome Post-
Discharge." Neurology April 1995; 45 (suppl 4): A379

Rapoport A, "For Dihydroergotamine Nasal Spray Multicenter Investigators. Efficacy, Safety, and
Tolerability of Dihydroergotamine Nasal Spray as Monotherapy in the Treatment of Acute Migraine.”
Headache 1995; 35:177-184

Mathew N, Saper J, Silberstein S, Rankin L, Markley H, Solomon S, Rapoport A, Silber C, Deaton R.
"Migraine Prophylaxis with Divalproex." Arch Neurology March 1995; 52:281-286

Queiroz L, Rapoport A, Weeks R, Sheftell F. "A Close Look at Migraine with Aura in a Headache
Center." Cephalalgia September 1995; 15 (suppl 14):274

Queiroz L, Rapoport A, Weeks R, Sheftell F. "Early and Transient Side Effects of Repetitive Intravenous
Dihydroergotamine." Headache May 1995; 35:294

Rapoport A, Visser W, Cutler N, Alderton C, Paulsgrove L, Davis R, Ferrari M. "Oral Sumatriptan in
Preventing Headache Recurrence after Treatment of Migraine Attacks with Subcutaneous Sumatriptan."
Neurology 1995; 45:1505-1509

Rapoport A. "Update on Severe Headache with a Focus on Migraine." Supplement Editor, Neurology
1994; 44 (suppl 3): S5-S28

Sheftell F, Weeks R, Rapoport A, Siegel S, Baskin S, Arrowsmith F." Subcutaneous Sumatriptan in a
Clinical Setting: The First 100 Consecutive Patients With Acute Migraine in a Tertiary Care Center."
Headache 1994; 34:67-72 ,

Rapoport A. "Recurrent Migraine: Cost-Effective Care." Neurology 1994; 44 (suppl 3): $25-28

Marks D, Rapoport A, Padla D, Weeks R, Rosum R, Sheftell F. "A Double-Blind, Placebo-Controlled Trial
of Intranasal Capsaicin for Cluster Headache." Cephalalgia 1993; 12:114-16
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 30 of 37

Alan M. Rapoport, M.D. 19
Rapoport A. “Case Study: A 43-Year-Old Woman with Intractable Headache." Neurology Reviews,
July/August 1993:19

Siegel S, Rapoport A, Sheftell F. "Management of Primary Headache Disorders." Contemporary Internal
Medicine 1993; 5:19-31

Marks D, Rapoport A. " Cluster Headache Syndrome: Ways to Abort or Ward Off Attacks." Postgraduate
Medicine 1992; 91: 96-104

Mathew N, Dexter J, Couch J, Flamenbaum W, Goldstein J, Rapoport A, Sheftell F, Saper J, Silberstein S,
Solomon S, Welch KMA. "Dose Ranging Efficacy and Safety of Subcutaneous Sumatriptan in the Acute
Treatment of Migraine.” Arch Neurol., 1992 49:1271-6

Rapoport A. “The Diagnosis of Migraine and Tension-Type Headache, Then and Now." Neurology 1992;
42 (suppl 2):11-15 .

Marks D, Rapoport A, Padla D. "A Double-Blind, Placebo-Controlled Trial of Intranasal Capsaicin for
Cluster Headache." Headache 1992 May; 32 (5):256

Rapoport A, Silberstein S. "Emergency Treatment of Headache." Neurology 1992; 42 (suppl 2):43-44

Sheftell F, Silberstein S, Rapoport A. "Drug Treatments for Chronic Headache." Physician Assistant, 1992;
16:53-66

Silberstein S, Sheftell F, Rapoport A, Rosum R. "Migraine and Women: Diagnosis, Pathophysiology and
Treatment." Journal of Women's Health, 1992; 1:5-19

Sheftell F, Silberstein S, Rapoport A. "Drug Treatments for Chronic Headache." Drug Therapy 1992; 22:
47-59

Rapoport A. "Headache Treatment Issues in Managed Care Settings." Managed Care. 1992

Rapoport A, Sheftell F. “The Proper Use of Analgesics: Implications for Headache Treatment."
Monograph: American Association for the Study of Headache, 1991

Sheftell F, Rapoport A, Kudrow L. “Efficacy of Cranial Electrotherapy Stimulation in the Prophylactic
Treatment of Migraine and Chronic Muscle Contraction Headaches." Cephalalgia 1989; 9 (suppl 10)

Rapoport A, Sheftell F, Gordon B. “Successful Treatment of Migraine with Anticonvulsant Medication in
Patients with Abnormal EEG." Headache 1989; 29:309

Friedman A, Sheftell F, Rapoport A. "Fiorinal with Codeine in the Treatment of Tension Headache: The
Contribution of Components to the Combination Drug." Clinical Theraputics 1988; 10,3

Rapoport A. “Analgesic Rebound Headache.” Headache 1988; 28:662-665

Weeks R, Rapoport A. "A Critical Look at Reliability of Headache Diagnosis.” Annals of Neurology 1987;
22;1

Rapoport A, Weeks R, Sheftell F, Baksin S and Verdi J. "The Analgesic Washout Period: A Critical
Variable in the Evaluation of Headache Treatment Efficacy." Neurology 1986; 36 (suppl 2):100-101
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 31 of 37

Alan M. Rapoport, M.D. 20

Rapoport A, Sheftell F, Altemus M. "Correlations of Facial Thermographic Patterns and Headache
Diagnosis." In: Abernathy, M, et al, and eds. Medical Thermology. Hanover, PA: Sheridan Press, 1986

Baskin S, Rapoport A, Weeks R, Sheftell F. "The Effect of Naproxen Sodium on Menstrual Migraine."
Headache 1985; 25:164

Rapoport A, Sheftell F, Weeks R. and Baskin S, "Analgesic Rebound Headache: Theoretical and Practical
Implications." Cephalalgia 1985; 5 (suppl 3), 448-449

Weeks R, Verdi J, Baskin $, Rapoport A, Sheftell F. "Reliability of Headache Diagnosis: An International
Prospective.” Cephalalgia 1985; 5 (suppl 3), 434

Rapoport A, Sheftell F, Baskin S, Weeks R. "Headache in Later Life." Keeping Current in the Treatment of
Headache 1984; 3: 3-11

Sheftell F, Rapoport A, Weeks R, Arrowsmith EF, Kontaxis C, Baskin S. "“Nimotop in the Prevention of
Mixed Headache Disorders. Nimodipine: Pharmacological and Clinical Properties.” Proceedings of the

First International Nimotop Symposium, 1984; 445-452

Rapoport A, Weeks R, Baskin S, Sheftell F. "Analgesic Rebound Headache." Proceedings of the Twelfth
Meeting of the Scandinavian Migraine Society 1983; 37-38

Weeks R, Sheftell F, Rapoport A, Arrowsmith F. "A Comparison of MMPI Personality Data and Frontalis
Electromyographic Readings in Two Groups of Daily Headache Sufferers." Headache 1983; 23: 83-85

Rapoport A, Sheftell, and Baskin S. "Geriatric Headaches." Geriatrics 1983; 38: 81-87

Rapoport A, Sheftell F, Weeks R and Baskin S. "Kopfschmerzen Durch Analgetika." (Analgesic Rebound
Headache). Diagnostik 1983; 16: 21-25

Kosten T, Rapoport A. "Left Thalamic Hemorrhage and Aphasia.” Connecticut Medicine 1982; 46:11, 633-
635

Engel M, Hecht H, Rapoport A. “Progressive Dyskinesia Due to Internal Cerebral Vein Thrombosis."
Neurology 1982; 32:7, 769-772

Rapoport A, Sheftell F, Baskin S. “Chronic Paroxysmal Hemicrania: Case Report of the Second Known
Definite Occurrence in a Male." Cephalalgia 1981; 1 67-69

Rapoport A, and Falvey C. "Post Traumatic Headache Caused by Hematoma of the Corpus Callosum."
Headache 1980; 20:5, 279-281

Schwartzman R, Engel W, Rapoport A. "Criteria for the Prednisone Treatment of Idiopathic
Neuropathy.” Neurology 1977; 27:4, 364

Makoyo Z, Rapoport A, Fleming R. "Moya-Moya Disease in Black Adults." Archives of Neurology 1977;
34:2, 130

Rapoport A, Guss S. "Dapsone Neuropathy." Archives of Neurology 1972; 22:8, 184-85

Jaffe R, Rapoport A, Schlaiffer L. "The Use of Pharmacologic Techniques in the Confirmation of the
Isoelectric EEG." Electroencephalography and Clinical Neurophysiology 1970; 29:411
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 32 of 37

Alan M. Rapoport, M.D. 21

Rapoport A, Stempack J. "Ultrastructure of the Venal Horn Cell of the Albino Rat." The Anatomical Record
1968; 161 (3): 371-376

Two abstracts on a similar topic (as listed above) in The Anatomical Record, April, 1965 and 1966

Presented Posters (Partial List):

Rapoport AM, Finlayson G, Freitag FG, Fisher A, Mao Lian, Wright P, Greenberg S. “Spectrum of
Headache Pain Intensities at Treatment Intervention: Outcome Observations from the AIMS and AEGIS
Early Intervention Studies.” Presented ath the 58" Annual Meeting of the American Academy of
Neurology (AAN), San Diego, CA, 1-8 April 2006.

Dahlof C, Aurora SK, Sheftell FD, Rapoport AM, Tepper SJ, Bigal ME. “Satisfaction with Current
Migraine Therapy: Experience from 3 Centers in US and Sweden.” Presented at the 57" Annual Meeting
of the American Academy of Neurology, Miami, FL, 9-16 April 2005.

Rapoport AM, Mauskop A, Schwalen S, Wu S-C, Pfeil J. “Long Term Effectiveness of Topiramate for
Migraine Prevention: Analyses of Open-Label, Extension Phase Data from Two Pivotal Studies.”
Presented at the 57" Annual Meeting of the American Academy of Neurology, Miami, FL, 9-16, April
2005.

Elkind A, Greenberg S, Rapoport AM, Finlayson G, Freitag F, Fisher A, Hulihan J. “Evolution to
Sensitization and Allodynia: interim Results from AIMS: Axert® 12.5 mg Time vs Intensity Migraine
Study.” Presented at the 57" Annual Meeting of the American Academy of Neurology, Miami, FL, 9-16,
April 2005.

Rapoport A, Uemura Naoto, Wall A, Gawel M, Dodick D. “The Time Course of Zolmitriptan Nasal
Spray: Rapid Nasal Absorption (2 Minutes), Early CNS Uptake (5 Minutes) and Early Onset of Efficacy
(10 Minutes).” Presented at the Third Congress of Headache Care for Practicing Clinicians, Lisbon,
Portugal, 1-3 October, 2004.

Lee David, Abu-Shakra $, Rapoport A. “Zolmitriptan offers a range of formulations that provide
Consistent efficacy and Increased treatment options." Presented at the IHC Meeting, New York, NY June
28th -July 2nd 2001.

Saper J, Rapoport A. "Consistency of Response of Zolmitriptan During Short-Term and Long-Term
Treatment.” Presented at The 14th Annual Practicing Physician's Approach to the Difficult Patient.
February 2001, Palm Springs, California

Rapoport A, Lipton R, Williams P, Sawyer J. "Cost-Effectiveness of Stratified Care in the Management of
Migraine.” Presented at the 5” Annual International Meeting of the International Society for
Pharmacoeconomics and Outcomes Research, 21-24 May 2000, Alexandria, VA.

Rapoport A, Ryan R. “Zolmitriptan Provides Rapid and Sustained Relief of Migraine Headache."
Presented at the 9” International Headache Society Congress, 22-26 June 1999, Barcelona, Spain,

Rapoport A, Sheftell F, Watson C, Pait D, O'Quinn S, Winter P. "Low Headache Recurrence with
Naratriptan: Clinical Parameters Related to Recurrence." Presented at the Diamond Headache Course,
July 1998, Orlando, FL.
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 33 of 37

Alan M. Rapoport, M.D. 22

Rapoport A, Adelman J. "Consistent Efficacy Across and Within Patients Treated with 2.5 or 5 mg
Zolmitriptan (ZOMIG™)." Presented at the 50" Annual Meeting of the American Academy of Neurology,
25 April-2 May 1998.

Taylor F, Rapoport A. "Lack of Impact of Gender, Age, and Renal Failure on Zolmitriptan, an Acute
Treatment for Migraine." Presented at the 50” Annual Meeting of the American Academy of Neurology,
25 April-2 May 1998.

Presentations (Partial List):

"Pharmacological Management of Migraine” -Presented at the New York-Presbyterian University
Hospital of Columbia and Cornell Meeting on Advances and Innovations in Headache Management,
New York, September 9, 2000.

“Clinical Overview of Sumatriptan" -Presented to the World Congress of Neurology (WCN), Buenos
Aires, September 16, 1997.

“Migraine Disability" -Presented to the World Congress of Neurology (WCN), Buenos Aires, September
15, 1997.

"Prevention of Migraine" -Presented at a course on headache at the World Congress of Neurology
(WCN), Buenos Aires, September 14, 1997,

“Zolmitriptan: Clinical Properties" -Presented to the International Headache congress (IHC), Amsterdam,
June 10, 1997.

“Preventive Treatment of Migraine" -Presented to the Practicing Physician’s Approach to the Difficult
Headache Patient, Rancho Mirage, California, February 22, 1997,

“Chronic Daily Headache" -Presented to the Brazilian Headache Society Annual Scientific Meeting,
Riberao Preto, Brazil, May 1997.

"Chronic Daily Headache" -Presented to NYU Headache Management Symposium, New York, New
York, March 16, 1997.

"Chronic Daily Headache" -Presented to Grand Rounds at the Brigham and Women’s Hospital, Boston,
Massachusetts, July, 1996.

"Refractory Headaches'-Presented to the Eighth Annual Symposium on Treatment of Headaches and
Facial Pain, New York Headache Foundation, The New York Marriott East Side, New York, New York,
April 14, 1996.

“Evaluating Inpatient and Outpatient Treatment of the Headache Patient: A Pharmacoeconomic Analysis"
-Presented to NMHCC’s Headache Care Management Conference, Atlanta, Georgia, December 13, 1996.

"Chronic Daily Headache" -Presented to Grand Rounds in the Department of Neurology, Dartmouth-
Hitchcock Medical Center, West Lebanon, New Hampshire, October 20, 1995.

"Chronic Daily Headache" -Presented at the Pan American Congress of Neurology in Guatemala City,
October 13, 1995.
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 34 of 37

Alan M. Rapoport, M.D. 23

Rapoport A, Weeks R, Baskin S, Sheftell F. “Inpatient Headache Treatment: Analysis of Outcome Post-
Discharge" -Presented at the American Academy of Neurology Annual Meeting, Seattle, Washington,
April 1995.

Forum: Analgesic Overuse in Headache: Strategies for Treatment (Moderator), and Chairman of the
conference entitled, “Symposium: Current Advances in the Treatment of Headache,"- Presented by the
Headache Consortium of New England (HCNE), at Stowe, Vermont, March 5, 1994,

"Cerebrovascular Disease and Headache," presented at a course entitled The Practicing Physician's
Approach to the Difficult Headache Patient, Marriott's Rancho Las Palmas Resort and Country Club,
Rancho Mirage, California, February 23-27, 1994,

"Sex Hormones and Headache" - Presented to Grand Rounds in the Department of Obstetrics and
Gynecology of The Massachusetts General Hospital, Boston, Massachusetts, Thursday, February 17,
1994.

"Effective Diagnosis and Treatment of Headaches” -Presented at the Colorado Scientific Meeting
sponsored by the American College of Physicians in association with the Colorado Society of Internal
Medicine, Broadmore Hotel, Colorado Springs, Colorado, February 3-5, 1994.

“Headache Update, 1994" - Presented to Grand Rounds in the Department of Medicine of the New Britain
Hospital, New Britain, Connecticut, January, 1994.

“Diagnosis and Treatment of Headache, 1993," Presented to Grand Rounds in the Department of
Neurology, Dartmouth-Hitchcock Medical Center, West Lebanon, New Hampshire, October, 1993.

Chairman of the Conference entitled Advances in Headache Diagnosis and Treatment. "The
Pharmacologic Treatment of Headache" -Presented by the Headache Consortium of New England
(HCNE) at Sturbridge Village, Massachusetts, May 1993.

Marks D, Rapoport A, Sheftell F, Padla D, Weeks R, Rosum R, Arrowsmith F. A Double Blind Placebo
Controlled Trial of Intranasal Capsaicin for Cluster Headache. Presented at the Annual Scientific Meeting
of the American Association for the Study of Headache. Toronto, Canada, June 1992 and published in
the journal, Cephalalgia 1993.

"Daily Chronic Headache and Analgesic Rebound" -Presented at a program entitled Headache
Management, A Comprehensive Update. Sponsored by the New York University Post-Graduate Medical
School, New York University Medical Center, New York, New York, September 26, 1992.

Moderator of Symposium on Analgesic Rebound Headache and Chairman of the Conference entitled,
"Update on the Pathophysiology and Treatment of Headache," - Presented by the Headache Consortium
of New England (HCNE) at Bretton Woods, New Hampshire, October 5, 1991.

"Diagnosis and Treatment of Headache and Proper Use of Medical Services" - Presented to Travelers
Insurance Corporation, Wallingford, Connecticut, September 19, 1991.

“Diagnosis and Treatment of Headache, 1991" - Grand Rounds at the New Britain General Hospital, on
May 23, 1991.

“Analgesic Rebound Headache" - Presented to the Headache and Pain staff of the Upper Valley Medical
Center in Troy, Ohio, on May 16, 1991.
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 35 of 37

Alan M. Rapoport, M.D. 24

"Analgesic Rebound Headache - The Misuse of Good Medicine" - Presented at Advances in Medicine by
the 25-year class of the College of Medicine of the State University of New York at the Health Science
Center in Brooklyn, New York on May 11, 1991.

"Migraine, 1991: Diagnosis, Scientific Basis and Treatment," presented at Neurology Grand Rounds at the
University of Alabama School of Medicine in Birmingham, Alabama on April 17, 1991.

“The Overuse of Medication in the Chronic Headache Sufferer" - Presented at the Houston Headache
Symposium, Houston, Texas, March 23, 1991.

Concluding Remarks on Analgesic Rebound Headache in Children - Presented at the International
Juvenile Headache Congress (3rd IHS International Pediatric Symposium, Rome, March 6-9, 1991 at the
Rome Cavalieri Hilton Hotel).

Grand Rounds Speaker, "New Advances in Migraine Diagnosis and Treatment” Charlotte Hungerford
Hospital. December 7, 1990.

Lecturer, Mechanisms and Management of Headache. Washington, D.C., November 2, 3, 4, 1990.

Lecturer in Public Symposium on Chronic Daily Headache, Headache 1990. Sponsored by ACHE
(American Council on Headache Education), in Baltimore, MD, November 1, 1990.

"Analgesic Abuse in Chronic Headache" -Presented at the Thirty Second Annual Scientific Meeting of the
American Association for the Study of Headache. Los Angeles, California, June, 1990.

Isler, H., Rapoport, A. Wilkinson, M. Poster on Dangerous Headache. Presented at Migraine Trust, London,
UK, September, 1990.

Moderator, "The Proper Use of Analgesics: Use Versus Abuse" -Presented in Symposium at the American
Association for the Study of Headache Winter Course - Headache: Changing Perspectives and Controversies.
Scottsdale, Arizona, February, 1990.

"Clinical Causes of Dangerous Headaches" -Presented at the Swiss Society for the Study of Headache.
Solothurn, Switzerland, December 2, 1989.

"Changes in Topographic Mapping of EEGs and Flash Visual Evoked Potentials during Attacks of
Migraine" -Presented at the Thirty-First Annual Scientific Meeting of The American Association for the
Study of Headache, Boston, MA., June, 1989.

"The Successful Treatment of Headache Patients Who Have Cortical Irritability on ‘Their EEG with
Anticonvulsant Medication” -Presented at the Thirty-First Annual Scientific Meeting of The American
Association for the Study of Headache, Boston, MA, June, 1989.

“Substance Abuse in Headache and Drug Induced Headaches" -Presented in a workshop of The
American Association for the Study of Headache Course: Headache: Changing Perspectives and
Controversies. Scottsdale, Arizona, January, 1989.

“Topographic Mapping In Headache and Migraine" -Presented in a symposium on Topographic Mapping
of EEG and Evoked Potentials: Fundamentals and Clinical Applications. Municipal Hospital Slotervaart,
Amsterdam, The Netherlands, November, 1988.
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 36 of 37

Alan M. Rapoport, M.D. 25

“New Dimensions in the Pharmacotherapy of Migraine" -Presented in a seminar entitled Headache: New
Dimensions in Evaluation and Management. Neurological Sciences Center, Good Samaritan Hospital &
Medical Center, Portland, Oregon, September, 17, 1988.

Rapoport, A., Gordon, B. - "The P300 Response in Post Head Trauma Patients" -Presented at the
American Association for the Study of Headache, 30th Annual Scientific Meeting, San Francisco, CA,
June, 1988.

"Analgesic Rebound" -Paper presented at the Annual Meeting of the Canadian Society of Hospital
Pharmacists Association, Banff, Alberta, March 1988.

Rapoport, A., Gordon, B. - "Topographic Analysis of P300 in Normals and Post Head Trauma Syndrome
Patients" -Paper presented at the Annual Meeting of Neurological and Psychiatric Application for
Topographic Brain Mapping, Ft. Meyers, Florida, February, 1988.

“Analgesic Rebound Headache" -Paper presented at a Symposium on Drugs and the Chronic Headache
Patient: Use, Misuse and Abuse. Toronto, Ontario, January, 1988,

Lecturer in a course on "Headache Diagnosis." The American Academy of Neurology (AAN) Meeting,
New York, 1987.

Weeks R, Rapoport A. ~A Critical Look at Reliability of Headache Diagnosis” -Poster presented at
American Neurological Association meeting (ANA), San Francisco, California, 1987.

Rapoport A, Sheftell F, Weeks R, and Baskin S. “The Utility of Facial Thermography in Headache
Diagnosis." Paper presented at the Annual Meeting of the American Association for the Study of
Headache, Chicago, IHinois, June, 1986.

Rapoport A, Weeks R, Sheftell F, Baskin S. - "The ‘Analgesic Washout Period’; A Critical Variable in the
Evaluation of Headache Treatment Efficacy." Paper presented at the Annual Meeting of the American
Academy of Neurology (AAN), New Orleans, Louisiana, April, 1986.

Rapoport A, Weeks R, Sheftell F, et al. “Analgesic Rebound Headache: Theoretical and Practical
Implications. " Presented at the Second International Headache Congress (IHC). Copenhagen, Denmark,
June, 1985.

Discussant on "Radio Frequency Trigeminal Ganglio- lysis in the Treatment of Chronic Intractable Cluster
Headache", by Ninan Mathew, et al. at The American Association for the Study of Headache Annual
Meeting, New York, June, 1985.

Discussant on "Monocyte Population Increase in Cluster Headache": A New Immunological Aspect", by
Giacovazzo, et al. At The American Association for the Study of Headache Annual Meeting, New York,
June 1985.

Discussant on "The Treatment of Intractable Chronic Cluster Headache", by Seymour Diamond, et al. At
The American Association for the Study of Headache Annual Meeting, New York, June, 1985.

Rapoport A, et al. "Analgesic Rebound Headache." Presented at The American Association for the Study
of Headache Meeting, San Francisco, California, June, 1984.

Lecturer on "Therapeutic Aspects of Intractable Headache" at the Annual Course of The American
Association for the Study of Headache Meeting, San Francisco, California, June, 1984.
Case 1:04-cv-10981-PBS Document 1692-14 Filed 03/02/09 Page 37 of 37

Alan M. Rapoport, M.D. 26

Lecturer on "Correlation of Facial Thermographic Patterns and Headache Diagnosis" at the Annual
Meeting of the American Academy of Thermography, Los Angeles, California, June, 1984.

Sheftell F, Rapoport A, Weeks R, Arrowsmith F, Kontaxis C, Baskin S. " Nimotop in the Prevention of
Mixed Headache Disorders: A Preliminary Report." Bayer International Symposium on Nimodipine,
Munich, Germany, February, 1984.

Rapoport A, Sheftell F, Weeks R, Baskin S. “Analgesic Rebound Headache". Proceedings of the 12th
Annual Meeting of the Scandinavian Migraine Society, Helsinki, 37-38, 1983.

Rapoport A, Baskin S. "Differential Diagnosis of Headache." Presented at the Biofeedback Society of New
York Conference on Headache in New York, November 12, 1983.

Rapoport A. et al. "Analgesic Rebound Headache.” Presented at the First International Headache
Congress (IHC) Meeting, Munich, Germany, September, 1983.

Rapoport A. et al. “Analgesic Rebound Headache." Presented at the Scandinavian Migraine Society
Meeting, Helsinki, Finland, June 1983.

Rapoport A. et al. "Analgesic Rebound Headache." Presented at the University of Munich Headache
Symposium, Munich, Germany, September 28-29, 1982.

"Rapid Evolution of Brain Abscess Documented by Serial CT Scanning.” Presented at Society for
Computerized Tomography and Neuro-Imaging, January 28, 1981.

"CT Correlates of Acute Optic Neuritis." Presented at Society for Computerized Tomography and Neuro-
Imaging, November 7, 1979.

"Dysphasia Caused by Left Thalamic Hemorrhage Diagnosed by Computerized Tomography.” Presented
at Society of Computerized Tomography and Neuro-Imaging, November 1, 1978.

Rapoport A, Solomon G, Fleming R. "Successful Medical Management of Internal Cerebral Vein
Thrombosis." Presented at the Proceedings of the Fourth Pan American Congress of Neurology, Mexico
City, October, 1975.

“Significance of ‘Borderline’ EEGs in Irreversible Coma." Presented at Meeting of Eastern Association of
Electroencephalographers, February, 1972.

12-09-07
